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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF ARIZONA
                                             Date of Arrest: April 03, 2025
                                             Magistrate’s Case No. 25-01443MJ
UNITED STATES OF AMERICA                 )
                                         )   COMPLAINT FOR VIOLATION OF
           Plaintiff,                    )
                                         )   COUNT ONE: 21 U.S.C. §§ 841(a)(1)
                vs.                      )   and (b)(1)(B)(iii)
                                         )   Possession with Intent to
Rame Jak                                 )   Distribute a Controlled Substance
            Defendant.                   )   (Cocaine)
                                         )
YOB: 1984                                    COUNT TWO: 21 U.S.C. §§ 841(a)(1)
United States Permanent Resident             and (b)(1)(A)(viii)
                                             Possession with Intent to
                                             Distribute a Controlled Substance
                                             (Methamphetamine)

                                             COUNT THREE: 18 U.S.C. §§
                                             924(c)(1)(A)(i) and (b) Use of a
                                             Firearm in Furtherance of a Crime
                                             of Violence or Drug Trafficking
                                             Crime



I, the undersigned complainant, being duly sworn, state that the
following is true and correct to the best of my knowledge and belief:


                                COUNT ONE

On or about April 3, 2025, at or near Yuma, Arizona, within the
District of Arizona, the defendant, Rame Jak, did knowingly and
intentionally possess with the intent to distribute approximately 28
grams or more of a mixture or substance containing a detectable amount
of cocaine, a Schedule II controlled substance, in violation of Title
21, United States Code Sections 841(a)(1) and (b)(1)(B)(iii).

                                COUNT TWO

On or about April 3, 2025, in Yuma, Arizona, within the District of
Arizona, the defendant, Rame Jak, did knowingly and intentionally
posses with intent to distribute 50 grams or more of a mixture or
substance containing a detectable amount of methamphetamine, its salts,
isomers, or salts of its isomers, a Schedule II controlled substance,
in violation of Title 21, United States Code, Sections 841(a)(1) and
(b)(1)(A)(viii).
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                                             COUNT THREE

On or about April 3, 2025, in the District of Arizona, the defendant,
Rame Jak, did knowingly possess a firearm, namely a 9mm Berretta
handgun, serial #BER006124CA2F, in furtherance of a drug trafficking
crime for which he may be prosecuted in a Court of the United States,
that is, possession with intent to distribute cocaine and
methamphetamine, as alleged in Counts 1-2 of this Complaint, in
violation of Title 18, United States Code, Section 924(c)(1)(A)(i).




I further state that this complaint is based on the attached Statement
of Facts incorporated herein by reference.

Reviewed by: SAUSA Regan Pauls
                       Digitally signed by
     REGAN PAULS REGAN PAULS (Affiliate)
     (Affiliate) Date: 2025.04.04
                 08:46:55 -07'00'               RICHARD GOSPODAREK Digitally signed by RICHARD GOSPODAREK
                                                                   Date: 2025.04.04 08:50:01 -07'00'


                                               Richard Gospodarek
                                               Special Agent
                                               Drug Enforcement Administration


Sworn telephonically before me, April 4, 2025, at Yuma, Arizona.




                                               James F. Metcalf
                                               United States Magistrate Judge
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                                 STATEMENT OF FACTS
    I, Special Agent Richard Gospodarek, Drug Enforcement
Administration, being duly sworn, declare the following:

                      INTRODUCTION AND BACKGROUND AFFIANT
    1. I, Richard Gospodarek, your affiant, am a Special Agent with
the Drug Enforcement Administration (DEA) and have been so assigned
since April 2024, I am currently assigned to the DEA Yuma Resident
Office. In April 2024, I completed the Basic Agent Training Program at
the DEA Office of Training in Quantico, Virginia. While attending Basic
Agent Training I received instruction on topics including narcotics
identification,      surveillance          techniques,       operational           methods     of
narcotics     traffickers,           undercover          operations           and        current
trends/patterns      involving   the       distribution      of     narcotics.        During   my
career in law enforcement, I have participated in various number of
investigations involving illegal drugs and drug proceeds. Before my
appointment as a Special Agent, I was employed by Northrop Grumman
Corporation as a Mechanical Engineer for approximately 3 years. My
duties as a Mechanical Engineer included design and implementation of
new hardware, product improvement and initial production support on
advanced    weapon    systems.       I    have   received       a      B.S.   in      Mechanical
Engineering with a Minor in Aerospace Engineering and Mathematics from
the University of Arizona in Tucson, Arizona.
    2. In the course of these investigations and my training at the
DEA academy, I have been involved in seizures of marijuana, cocaine,
heroin, fentanyl and methamphetamine. I have assisted in the
interrogation of numerous subjects/defendants involved in and/or
arrested for drug and narcotics violations. I also have participated in
several joint interagency federal and state investigations. In the
course of these investigations, I conducted thorough background checks
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of targets, conducted physical surveillance, executed search warrants
and monitored and reviewed recorded conversations of drug traffickers.
I have deployed confidential sources and corroborated source
information. Through my training and experience, including on-the-job
discussions with other law enforcement agents and cooperating suspects,
I am familiar with the activities of drug smugglers and drug
trafficking distribution networks. I have become familiar with the
manner in which narcotics traffickers smuggle, package, transport,
store, and distribute narcotics as well as how they collect and launder
drug proceeds. I am also familiar with the manner in which narcotics
traffickers use telephone, cellular telephone technology, internet,
coded communications, slang filled conversations, false and fictitious
identities and other means to facilitate their illegal activities and
mislead law enforcement investigations. During the conduct of my
official duties, I have assisted other law enforcement officers in
preparation of various search warrants, arrest warrants and criminal
complaints.
    3. Based on my training, and experience and conversations with
other law enforcement officials, I know that the experienced and well-
structured Drug Trafficking Organizations (DTOs) usually
compartmentalize their illegal operations. These DTOs subcontract their
operations to sub-organizations, also known as (a/k/a) “cells,” who
work independently from each other to facilitate the smuggling and
distribution of controlled substances. For instance, these cells carry
out different tasks to include: the receipt and transportation of
controlled substances from the source country; the
importation/smuggling of the controlled substances into the United
States; the temporary storage of the controlled substances as they
await to follow-on transportation; the transportation of the controlled
substances as they await follow-on transportation; the transportation
of the controlled substances to different cities within the United
States; and the transportation of bulk cash derived from the sale of
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the controlled substance back to the source(s) of supply of the
controlled substance.
    4. In preparing this Affidavit, I conferred with other law
enforcement officials, who share the opinions and conclusions stated
herein.   I have personal knowledge of the following facts or have
learned them from other law enforcement officers.                   I also relied on my
training, experience, and background in law enforcement to evaluate
this information.     Since this Affidavit is being submitted for the
limited purpose of establishing probable cause for a complaint, I have
not included each and every fact or source of information establishing
the violation of federal law.

                                     PROBABLE CAUSE
    5.    On April 3, 2025, at approximately 9:00 a.m., Arizona
Department of Public Safety (AZDPS) Trooper Gabe Aguirre was observing
traffic along Interstate 8 (I-8). Aguirre, observed a black 2021 Tesla
bearing California license plate [CX80X54], with a single occupant,
later identified as Rame JAK (JAK) by his driver’s license, traveling
eastbound on I-8. Trooper Aguirre noticed the black Tesla driving in
the middle of the road, straddling both the passing and traveling lane
at the same time, for approximately a quarter mile. Trooper Aguirre
also noticed the vehicle was driving at approximately 90 miles-per-hour
(MPH), in a posted speed limit zone of 75 MPH. Trooper Aguirre then
initiated a traffic stop of the black Tesla near mile marker 48, near
Tacna, Arizona.
    6.    Trooper Aguirre approached the vehicle, and spoke to JAK. When
the Trooper asked where JAK was coming from and heading to, JAK stated
he was coming from San Diego, California and was driving to Scottsdale,
Arizona. Trooper Aguirre noticed that JAK was mumbling when he was
speaking, and Trooper Aguirre had JAK exit the vehicle. The Trooper
then performed a field sobriety test on JAK, and determined that JAK
was Driving Under the Influence (DUI) (Arizona Revised Statue (ARS) 28-
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1381) and was driving recklessly (ARS 28-693). Aguirre arrested JAK for
the violations of ARS 28-1381 and ARS 28-693.
     7.   Prior to the vehicle being towed, Trooper Aguirre inventoried
the vehicle. Trooper Aguirre discovered a white powdery substance in
the center counsel of the vehicle also found in a green bear container,
that later tested positive for the characteristics of cocaine. Trooper
Aguirre also found approximately $4,950.00 United States Dollars (USD)
in bills, pills, mushrooms, and a 9mm Berretta handgun inside the
vehicle. The handgun was found in the rear of the vehicle with one
round in the chamber and no magazine inserted. The magazine was later
found to be on the passenger seat of the vehicle with ammunition
inside. Trooper Aguirre, opened the green bear container containing a
white powdery substance which he was subsequently exposed to. Trooper
Aguirre experienced abnormal health symptoms, such as a headache and
dizziness. Trooper Aguirre was transported to the hospital for medical
evaluation.
     8.   The Drug Enforcement Administration (DEA) Yuma Resident
Office (YRO) was called, and Special Agents (SAs) arrived on scene at
approximately 10:00 a.m. Upon arrival, Special Agents with the help of
AZDPS transported JAK, along with the currency, and firearm to the YRO.
Due to the white powdery substance the Trooper was exposed to, the
vehicle was deemed to be unsafe to drive to the YRO. The vehicle was
towed to the YRO, and simultaneously escorted by an AZDPS Trooper.
    9.    At approximately 11:30 a.m., during a post Miranda Interview,
JAK admitted to possession of the firearm, gummies, powder and other
items in the vehicle. JAK stated the powder was going to be tested at a
third-party lab in the Phoenix area for research. Investigators asked
JAK how long he has had the vehicle, he stated he was in possession of
the vehicle for two days. When asked if there was anything in the
vehicle prior to him taking possession, JAK stated the only thing in
the vehicle prior to him taking possession was a black gym bag. JAK
stated the black gym bag belonged to his brother. During the search of
the vehicle, investigators found multiple baggies containing a white
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powdery substance in United States Postal Service (USPS) envelopes on
the driver’s seat floorboard. The white powdery substance, tested
positive with a drug field test kit, for the characteristics of
cocaine. An additional USPS envelope was found on the floorboard of the
driver’s seat, with a crystal-like substance, that field tested
positive for the characteristics of methamphetamine.
    10.   Furthermore, during the search of the vehicle, investigators
discovered additional baggies with a white powdery substance. Red and
orange pills were found in the vehicle, which tested positive with a
drug field test kit, for the characteristics of methamphetamine.
Hundreds of single use clear plastic bags, commonly used for single
dose drugs.
    11. Based on the foregoing, there is probable cause to believe
that Rame JAK committed the offenses, alleged in the Complaint.




                                                              Digitally signed by RICHARD
                                        RICHARD GOSPODAREK GOSPODAREK
                                                              Date: 2025.04.04 08:50:43 -07'00'


                                       Richard Gospodarek
                                       Special Agent
                                       Drug Enforcement Administration




                                                            4th
Sworn to before me and subscribed telephonically, on this _______ day
of April, 2025, at Yuma, Arizona.




                                      James F. Metcalf
                                      United States Magistrate Judge
